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Education, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA EX REL. KATIE

BROOKS AND NANNETTE WRIDE,
STIPULATED CONSENT

PLAINTIFFS, ORDER

VS. CASE No. 2:15-cv-00119-
JNP-EHF

STEVENS-HENAGER COLLEGE, INC., A UTAH
CORPORATION; AND CENTER FOR EXCELLENCE IN
HIGHER EDUCATION JUDGE JILL N. PARRISH

MAGISTRATE J UDGE
DEFENDANTS. EVELYN J. FURSE

 

 

STIPULATED CONSENT ORDER
The parties have conferred about the government documents referenced in Exhibit A,
which the United States has produced to counsel for Defendants under the protective order entered
in this case. Counsel for the United States has agreed that the specified documents may be used in
a separate federal case raising the same underlying legal issues. The parties have further agreed as

follows:
Case 2:15-cv-00119-JNP-EJF Document 486 Filed 01/24/20 Page 2 of 5

(1) the government documents referenced in Exhibit A will be produced as confidential
under the protective order entered in the other case;

(2) counsel for Defendants will produce the documents to opposing counsel in the other
case; and

(3) the documents may be used in depositions of current and former Department of
Education employees in the other case.

In addition, the parties have agreed that counsel for Defendants will notify the counsel for

the United States which documents will be used during the trial of that other case.

Exhibit A comprises the parties’ initial effort to identify documents. The parties will confer

in writing about the use of any additional eens
Order.
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ay D. Majors, Trial Attorney

Steven M. Gotnbos
John W. Black, Trial Attorney Se see / 24) Zo

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Attorneys for the United States of America Attorneys for Defendants Stevens-Henager
College, Inc., and Center for Excellence in
Higher Education

SO ORDERED.

Date:

 

Magistrate Judge Evelyn J. Furse
Case 2:15-cv-00119-JNP-EJF Document 486 Filed 01/24/20 Page 3 of 5

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on January 24, 2020, I served the foregoing document via the

court’s CM/ECF electronic filing system to all counsel of record, including the following:

Jay D. Majors, jay.majors@usdoj.gov

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USS. Attorney’s Office

US. Department of Justice
175 N. Street, N.E.
Washington, DC 20002

Counsel for Plaintiff United States of America

/s/ Steven M. Gombos
STEVEN M. GOMBOS
Case 2:15-cv-00119-JNP-EJF Document 486 Filed 01/24/20 Page 4 of 5

Exhibit A

USSHC_00032214
USSHC_00032215
USSHC_00020158
USSHC_00023404
USSHC_00030761
USSHC_00030763
USSHC_00024125
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. USSHC_00024310

. USSHC_00031815

. USSHC_00025904

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